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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                                  LONDON DIVISION
                           CIVIL ACTION NO. 6:18-cv-226-GFVT
                                   Filed Electronically

In re: HWY 1955, Red Hill, Livingston, KY 40445
UNITED STATES OF AMERICA                                                      PLAINTIFF

VS.

GLENDA JEAN SLUSHER

UNKNOWN SPOUSE OF
GLENDA JEAN SLUSHER

DANIEL BOONE DEVELOPMENT                                                      DEFENDANTS
COUNCIL, INC.


                                       STATUS REPORT

                                             ********


       Comes now the Plaintiff, the United States of America, by and through counsel, and hereby

provides the following information regarding the status of this matter.

       The Defendant, Glenda Jean Slusher, initially contacted Plaintiff to request settlement of

this foreclosure action. The Plaintiff, by and through the USDA Rural Housing field office, has

been working with the Defendant to settle the delinquency in her account.          The agreed to re-

amortization plan which would have brought the Defendant’s loan current has, as of the date of

this Status Report, not been followed by Defendant with no payments having been made.

       The Plaintiff, therefore, has been unable to bring this case to a settlement, and shall at this

time continue to prosecute this foreclosure action.

       Counsel for Plaintiff requests that this Honorable Court accept this Status Report, and allow

this cause of action to remain on the active docket.

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                                           Respectfully Submitted,

                                           By: /s/ A. George Mason, Jr.
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                                  CERTIFICATE OF SERVICE

       This will certify that I electronically filed the foregoing into the Court’s record of this
action by using the Court’s CM/ECF Electronic Filing System, and that any order or judgment
United States of America proposes in connection therewith is an attachment to the filing.

       This will further certify that a true and correct copy of the foregoing, together with a copy
of any order or judgment United States of America proposes in connection herewith, has been
served as follows:

-Via CM/ECF

Michael Cunnagin
Attorney for Defendant/Cross Claimant
Daniel Boone Community Action Agency, Inc.
fka Daniel Boone Development Council, Inc.
P.O. Box 1070
London, KY 40743-1070



-Via U.S. Postal Service, postage prepaid

Glenda Jean Slusher
PO Box 145
Livingston, KY 40445-0145

Unknown Spouse of Glenda Sue Slusher
HWY 1955 Red Hill
Livingston, KY 40445


                                                     By: /s/ A. George Mason, Jr.
                                                     Attorney for the Plaintiff
                                                     George Mason Law Firm, PSC




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